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UNITED STATES DISTRICT COURT ORDER SETTING CONDITIONS OF
EASTERN DISTRICT OF CALIFORNIA RELEASE AND APPEARANCE BOND
_| 4-23-06 |_ 06-0837
NAME OF DEFENDANT ADDRESS OF NFFENNDANT TELEPHONE NUMBER
‘f
BARKER, MICHAEL N.M.N. EL PORTAL, CA 95318
NAME[s}] OF SURETY\{ies] ADDRESS[es] OF SURETY{ies] TELEPHONE NUMBER(s)
N/A --O.R.
NAME OF CUSTODIAN RELATIONSHIP TO DEFENDANT ADDRESS OF CUSTODIAN TELEPHONE NUMBER
N/A
AMOUNT OF BOND |LIUNSECURED | (LLJSECURED BY OTHER SECURITY POSTED/TO BE POSTED BY TIME AND DATE OF NEXT APPEARANCE | COURTROOM
. ; O.R MAY #} 30, 2006 @|9A.M.
0.00 pepo aecEIVED U.S. MAGISTRATES COURT
. UphM Lin CARLRFORNLA

 

CONDITIONS OF RELEASE AND APPEARANCE

Defendant is subject to each conditions checked:

X] Defendant shall immediately advise the court, defense counsel, the U.S. Attorney and/or the Yosemite Law Enforcement office in writing if arrested. oF
cited by law enforcement officer.

[X] Defendant shall appear at all proceedings as ordered by the Court and shall surrender for service of any sentence imposed.

Defendant shali not commit any federal, state, or local crime.

Defendant shall not harass, threaten, intimidate, injure, tamper with, or retaliate against any witness, victim, informant, juror, or officer of the Court, or
obstruct any criminal investigation. See 18 U.S.C. 1503, 1510, 1512, and 1513, on reverse side.

L] Defendant shall not travel outside the Eastern District of California, that is, these counties: Alpine, Amador, Butte, Calaveras, Colusa, El Dorado,
Fresno, Glenn, Inyo, Kern, Kings, Lassen, Madera, Mariposa, Merced, Modoc, Mono, Nevada, Placer, Plumas, Sacramento, San Joaquin, Shasta,
Sierra, Siskiyou, Solano, Stanislaus, Sutter, Tehama, Trinity, Tulare, Tuolumne, Yolo, Yuba, See map on reverse side.

Defendant shail immediately advise the Court, Pretrial Services, Defense Counsel and the U.S. Attorney in the writing of any change in address and
telephone number.

C1 Defendant shall report to and comply with the rules and regulations of the Pretrial Services Agency, and contact that agency by phone for further
instructions of the first working day following your release from custody.

("] Defendant shall surrender all passports and visas to the Court by and shall not apply for any other passports.

L] Defendant shall not possess any firearm, destructive device, or other dangerous weapon.

[] Defendant shall remain in the custody of the custodian named above, who agrees to supervise him/her and to report any violation of a release
condition to the U.S. Marshal. if the custodian fails to do so, he/she will be prosecuted for contempt of court.

 

TO NOTIFY U.S. MARSHAL: Monday through Friday, 8:00 A.M. to 4:30 P.M. —~ (559) 498-7205
After hours, weekends and holidays — (800) 336-0102

 

 

 

[Defendant shall participate in (drug) (alcohol) (psychiatric) counseling, and submit to drug testing, as directed by Pretrial Services.
[]Defendant shall not use alcohol to excess and shall not use or possess any narcotic or other controlled substance without a legal prescription.
LThe following conditions also apply:

 

CONSEQUENCES OF DEFENDANT’S FAILURE TO OBEY CONDITIONS OF RELEASE

Payment of the full amount of this bond shall be due forthwith, and all cash or property posted to secure it shall be forfeited. Judgement may be entered
and executed against defendant and all sureties jointly and severally.

An arrest warrant for defendant shall issue immediately, and defendant may be detained without bail for the rest of the proceedings.

Defendant shall be subject to consecutive genténces and fines for failure to appear and/or for committing an offense while on release. See 18 U.S.C.
3146 and 3147, on reverse side.

We, the undersigned, have read and understand the jerms of this bond and acknowledge that we are bound by it until duly exonerated.

SIGNATURE OF DEFENDANT TA, A SIGNATURE(s) OF SURETY{ies]
& LUT hy JL VAL

SIGNATURE OF CUSTODIAN

 

 

 

 

Signed before me on the date shown above. This order
authorizes the Marshal to release defendant from custody.

Doreen 1. CLERK OF COU RT — WHITE COPY EDCA1

 

 

 
